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  11
                              UNITED STATES DISTRICT COURT
  12
                             CENTRAL DISTRICT OF CALIFORNIA
  13
                                       WESTERN DIVISION
  14
  15
  16   LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
       behalf of all others similarly situated,
  17                                              Assigned to Hon. Stephen V. Wilson
                        Plaintiff,
  18                                              DEFENDANT’S OPPOSITION TO
             v.                                   PLAINTIFF’S MOTION TO
  19                                              VACATE TRIAL DATES AND
       CALLFIRE, INC.,                            FOR EXTENSION OF TIME TO
  20                                              MOVE FOR CLASS
                        Defendant.                CERTIFICATION
  21
                                                  Hearing Date: October 21, 2019
  22                                              Time:       1:30 P.M.
                                                  Place:      10A
  23
  24                                              Complaint filed: April 15, 2019
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                                                           CALLFIRE, INC.’S OPP. TO PLAINTIFF'S
                                                              MOTION FOR EXTENSION OF TIME
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   1                                     INTRODUCTION
   2          The Court should deny Plaintiff’s Motion. The facts demonstrate that any
   3   limitations that Plaintiff faces are of his own making, particularly in light of the
   4   lengthy extension already granted. Plaintiff further makes no effort to articulate
   5   with any meaningful specificity what discovery he believes he needs, thus facially
   6   failing to satisfy this Court’s standard for granting the requested extensions of time.
   7   Accordingly, CallFire submits that the Motion should be rejected.
   8                                           FACTS
   9          Plaintiff filed this action on April 15, 2019 and already once extended his
  10   deadline to file a Motion for Class Certification by three months—yet he now seeks
  11   another extension of nearly nine months without providing any meaningful
  12   justification.
  13          Plaintiff’s initial deadline for filing for class certification was July 29, 2019.
  14   ECF No. 14, at 2; see also United States District Court Central District of
  15   California Local Civil Rules L.R. 23-3 [hereinafter L.R.]. On May 17, 2019—over
  16   a month after filing his Complaint—Plaintiff moved this Court to extend his
  17   deadline to file for class certification by six months, which CallFire did not oppose.
  18   ECF No. 14, at 2. In that Motion, Plaintiff gave no cause for extending the
  19   deadline, other than that CallFire had not yet responded to the Complaint and "no
  20   discovery has begun." Id. On May 29, the Court granted an extension, but only for
  21   three months—extending Plaintiff's deadline to October 28, 2019. ECF No. 19.
  22          Plaintiff has not made good use of his three month extension. During that
  23   time, Plaintiff sought, ECF No. 20, and received, ECF No. 23, a three week
  24   extension to respond to CallFire's Motion to Dismiss. Plaintiff did not make any
  25   effort to start the discovery he claimed was needed until the Rule 26(f) conference
  26   on July 30, 2019—held the day after Plaintiff's Motion for Class Certification
  27   originally would have been due and over three months after the Complaint was
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                                                             CALLFIRE, INC.’S OPP. TO PLAINTIFF’S
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   1   filed.1 See Declaration of Michael B. Hazzard ¶¶ 4–5 [hereinafter Hazzard Dec.].
   2         Indeed, Plaintiff did not serve his first set of discovery requests until July 31,
   3   2019. ECF No. 29, at 6. CallFire timely responded on August 30, 2019, but
   4   Plaintiff waited for a week to send a letter requesting a meet and confer. See ECF
   5   No. 33, at 3; Hazzard Dec. ¶¶ 6–7. Thereafter, CallFire proposed, and Plaintiff's
   6   counsel agreed, to a date and time for that meet and confer. See Hazzard Dec. ¶ 8.
   7   Plaintiff's counsel without notice failed to attend, forcing CallFire to reschedule.
   8   See ECF No. 33, at 4 n.1; Hazzard Dec. ¶ 8. CallFire has since agreed to provide
   9   supplemental responses to Plaintiff's discovery requests and will do so as agreed by
  10   the parties. See Hazzard Dec. ¶ 9.
  11         On September 18, 2019—five months after filing his Complaint and nearly
  12   two months after the original deadline to file for class certification—Plaintiff
  13   sought the instant extension of that deadline for an additional nine months, now
  14   pending before the Court. See ECF No. 33, at 4.2 Under Plaintiff's proposal, he
  15   would not have to file for class certification until his Complaint has been pending
  16   for 15 months and nearly a year after the original Local Rule 23-3 deadline.
  17   Further, despite knowing about the Court's scheduled trial date since August 8,
  18   2019, Plaintiff has made no effort to seek relief from that date until now. See ECF
  19   No. 28. The only fact even tangentially bearing on cause to move these deadlines is
  20   Plaintiff's vague assertion that, despite the parties' "dilgent[]" pursuit of discovery,
  21   "[a]bsent discovery regarding the proposed class and the factors to be considered
  22   under Rule 23, Plaintiff cannot gather the evidence necessary to present the Court
  23
              1
                While CallFire received an extension of a few days to conduct an initial
       investigation and respond to Plaintiff's Complaint, that extension in no way
  24   impacted Plaintiff's desired discovery concerning the sustainability of a class
       action. See ECF No. 12.
  25          2
                CallFire notes that while Plaintiff did discuss his Motion with CallFire, he
       did not follow the procedure required by Local Rule 7-3. Plaintiff previously
  26   mentioned seeking a second extension of his deadline for filing for class
       certification, but he did not confer with CallFire about this specific Motion at least
  27   seven days prior to filing it. See Hazzad Dec. ¶ 10; L.R. 7-3. Further, he did not
       include the certification statement required by that Rule. See L.R. 7-3. That failure
  28   alone permits the court to "decline to consider [the] motion." L.R. 7-4.
                                                              CALLFIRE, INC.’S OPP. TO PLAINTIFF’S
                                                                 MOTION FOR EXTENSION OF TIME
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   1   with an adequate record upon which it can fairly determine whether certification
   2   should be granted here." ECF No. 33, at 3–4.
   3         The Court before has rejected Plaintiff's claims to excessive extensions of
   4   time. See ECF No. 19 (only granting three month extension when Plaintiff
   5   requested a six month extension). Having already received a 90 day extension,
   6   double the amount of time contemplated by Local Rule 23-3, and providing no
   7   cause why the Court should extend the deadline by another nine months, the Court
   8   should deny Plaintiff's latest extension.
   9                                       ARGUMENT
  10   I.    LEGAL STANDARD
  11         The Federal Rules of Civil Procedure and Ninth Circuit case law require
  12   extensions of time be justified by "good cause." Fed. R. Civ. Pro. 6(b)(1)(A);
  13   Verner v. Swiss II, LLC, 2010 WL 99084, at *1 (C.D. Cal. Jan. 6, 2010). Good
  14   cause to extend the class certification deadline established by Local Rule 23-3 does
  15   not include time to take discovery on class allegations, absent "specific[]" discovery
  16   sought by Plaintiff to prove the requirements of Fed. R. Civ. Pro. 23. La Fleur v.
  17   Medical Management Int'l Inc., 2013 WL 12149179, at *1 (C.D. Cal. April 11,
  18   2013); Dake v. Receivables Performance Management, LLC, 2012 WL 12894006,
  19   at *4 (C.D. Cal. Nov. 30, 2012); Parker v. FedEx Nat'l LTL, Inc., 2011 WL
  20   11671754, at *1 (C.D. Cal. April 11, 2011).
  21         In addition to showing good cause, a party moving for a continuance to a trial
  22   date must demonstrate "diligent work by the party seeking delay and . . . prejudice
  23   that may result from the denial of a continuance." Judge Wilson's New Case Order,
  24   ECF No. 9, ¶ 7 ("Per Local Rule 16.9, continuances are granted only upon a
  25   showing of cause, focusing particularly upon evidence of diligent work by the party
  26   seeking delay and of prejudice that may result from the denial of a continuance. . . .
  27   This Court sets firm trial dates and will not change them without a showing of good
  28   cause."); see also L.R. 16.9.
                                                            CALLFIRE, INC.’S OPP. TO PLAINTIFF’S
                                                               MOTION FOR EXTENSION OF TIME
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   1   II. PLAINTIFF SHOWS NEITHER GOOD CAUSE NOR PREJUDICE
   2         The only offering Plaintiff makes that hints at "good cause" for an extension
   3   is a vague request for discovery on class issues. Plaintiff does not identify what he
   4   hopes that discovery will reveal, nor does he make specific requests as to what
   5   discovery will further his motion for class certification. That general request does
   6   not rise to the level of good cause and requires that Plaintiff's Motion be dismissed.
   7         Courts in this district have previously denied extensions of time under similar
   8   facts. See, e.g., Robertson v. FedEx Nat. Ltl, Inc., 2010 WL 10020690 (C.D. Cal.
   9   Jan. 5, 2010); Parker, 2011 WL 11671754. In Robertson, the plaintiff argued that
  10   "'it is virtually impossible to fit' pre-certification discovery within the 90-day period
  11   prescribed by L.R. 23-3." 2010 WL 10020690, at *7. The Court concluded that
  12   the plaintiff's argument was "irrelevant and [had] no merit." Id.
  13         Even more on point, the plaintiff in Parker, much like Plaintiff here, sought
  14   "not a few additional days, a few additional weeks, or even a few additional
  15   months . . . but nearly ten additional months" to file for class certification. 2011
  16   WL 11671754, at *3. The Parker plaintiff argued that he "diligently managed and
  17   prosecuted this action," but he did not "cite . . . specific activity to support that
  18   conclusion." Id. at *7. The court concluded that Parker "has had more than ten
  19   months—and seeks nearly another ten months—to file a certification motion.
  20   Parker has not shown even minimal diligence." Id. Here, Plaintiff, under an
  21   already extended schedule, will have had six months to file for class certification,
  22   but he seeks another nine months without showing "specific activity" to justify such
  23   a long extension.
  24         Cases that have found good cause to extend a class certification deadline
  25   have rested on the fact that the plaintiff provided specific justifications of what
  26   information he hoped to uncover in discovery that would help him define his
  27   class—a notably absent fact here. See, e.g., La Fleur, 2013 WL 12149179; Dake,
  28   2012 WL 12894006. The La Fleur plaintiff "[s]pecifically" sought, among other
                                                               CALLFIRE, INC.’S OPP. TO PLAINTIFF’S
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   1   things "(1) discovery of Defendant's payroll records and a deposition of Defendant's
   2   payroll personnel to determine whether Defendant miscalculated the regular rate of
   3   pay, and (2) evidence regarding communication with potential class members
   4   regarding off-the-clock work." La Fleur, 2013 WL 12149179, at *2. The court
   5   found that the "discovery sought by Plaintiff may go towards demonstrating the
   6   requirements, including commonality and typicality, of FRCP 23(a)" and thus
   7   granted the extension. Id.
   8         Here, Plaintiff includes no specific discovery requests. Rather, his general
   9   plea for vague discovery goes towards nothing specific in Federal Rule of Civil
  10   Procedure 23. As such, consistent with prior case law, Plaintiff has shown no good
  11   cause for an extension.
  12         As Plaintiff cannot show good cause to extend his time to file for class
  13   certification, he certainly cannot meet the higher standard necessary for a
  14   continuance of trial dates. Such a continuance requires a showing of diligence by
  15   Plaintiff and "prejudice that may result from the denial of a continuance." ECF No.
  16   9, ¶ 7. Plaintiff cannot show diligence. He has consistently sought extensions of
  17   deadlines, failed to appear for at least one scheduled meet and confer, and delayed
  18   in taking discovery. Moreover, totally absent from Plaintiff's present Motion is any
  19   mention, or even description, of prejudice. See ECF No. 33. CallFire can see no
  20   prejudice that results from adhering to the—already extended—schedule set by this
  21   Court's orders and the Local Rules. If there is any prejudice here, it is of Plaintiff’s
  22   own making and for which he should receive no award. In any event, Plaintiff has
  23   the burden to show prejudice, and he has failed even to mention it.
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                                                             CALLFIRE, INC.’S OPP. TO PLAINTIFF’S
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   1                                      CONCLUSION
   2         For each of the foregoing reasons, CallFire, Inc. respectfully requests that
   3   this Court deny Plaintiff’s Motion to Vacate Trial Dates and For Extension of Time
   4   to Move for Class Certification in its entirety.
   5
       Dated: September 30, 2019                          Respectfully submitted,
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   8
                                                  By: /s/ Michael B. Hazzard
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